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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)



                                        UNITED STATES DISTRICT COURT
                                                                            for the

                                                                  ~ofUiah                          G
                                                             U    1
                                                                                    Division

                       Michael J. Franchek
                         Minor Child JF                                         )      Case No.
                                                                                )                      (to be filled in by the Clerk's O.ffice)
                                                                                )
                              Plaintiff(s)
(Write the.fitll name of each plaint[!Jwho is.filing this complaint.
                                                                                )
If the names of all the plaintiffs cannotflt in the space above,                )      Jury Trial: (check one) ~Yes            0No
please write "see attached" in the space and attach an additional               )
page with thefidl list of names.)                                               )
                                  -v-                                           )
  Park City Utah Municipal Corporation, Ofc, James                              )
Rodrigues, Sgt. Cameron Thor, Ofc.Craig Proctor, Ofc.                           )              Case: 2:21-cv-00563
                   Keltsey Ware                                                 )              Assigned To : Pead, Dustin B.
                                                                                )              Assign. Date: 9/27/2021
                             Dejendant(s)                                       )
(Write thefitl/ name of each defendant who is being sued. (/'the
                                                                                               Description: Franchek v Park City
                                                                                )
names of all the defendants cannot fit in the space above, please                              Municipal et al
                                                                                )
write "see a//ached" in the space and attach an additional page
with thefi1ll list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                          NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits ofa financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    fonna pauperis.




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I.         The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name
                           Address
                                                                        Park City
                                                                                     City                  State         Zip Code
                           County                                       Summit
                           Telephone Number
                           E-Mail Address

           B.        The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. I
                            Name                                         Park City Municipal Corporation
                            Job or Title (if known)                      Margaret Plane, City Attorney
                            Address                                      445 Marsac Ave.
                                                                         Park City                         UT            84060
                                                                                     City                  Stale         Zip Code
                            County                                       Summit
                            Telephone Number                             801-671-5180
                            E-Mail Address (if known)                    margaret.plane@parkcity.org

                                                                         D Individual capacity     ~ Official capacity

                      Defendant No. 2
                            Name                                         James Rodrigues
                            Job or Title    (if known)                   Police Officer
                            Address                                      2060 Park Ave
                                                                         Park City                         UT            84060
                                                                                     City                  State         Zip Code
                            County                                       Summit
                            Telephone Number                             435-615-5500
                            E-Mail Address (if known)                    unknown

                                                                        D Individual capacity      ~ Official capacity




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                     Defendant No. 3
                           Name                                         Cameron Thor
                           Job or Title (if known)                      Police Seargent
                           Address                                      2060 Park Ave
                                                                        Park City                  UT                 84060
                                                                                    Ci(v           State              Zip Code
                           County                                       Summit
                           Telephone Number                             435-615-5500
                           E-Mail Address (if known)                    unknown

                                                                        D Individual capacity 0   Official capacity


                     Defendant No. 4
                           Name                                         Keltsey Ware
                           Job or Title (if known)                      Police Officer
                            Address                                     2060 Park Ave
                                                                        Park City                  UT                 84060
                                                                                    City           State              Zip Code
                           County                                       Summit
                           Telephone Number                             435-615-5500
                           E-Mail Address (//'known)                    unknown

                                                                        D Individual capacity 0   Official capacity

II.        Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the ''deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau ofNarcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of ce1iain
          constitutional rights.

           A.         Are you bringing suit against (check all that apply):

                     D Federal officials (a Bivens claim)
                     ~      State or local officials (a § 1983 claim)

           B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you arc suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

                      Plaintiff(s) were deprived of their 1st, 4th, 5th and 14th amendment rights by defendant(s)




           C.        Plaintiffs suing under Bivens may only recover for the violation of ce1iain constitutional rights. If you
                     are suing under Bivens, what constih1tional right(s) do you claim is/are being violated by federal
                     officials?


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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.

                     Defendants James Rodrigues, Cameron Thor, Keltsey Ware and Craig Proctor were employed by
                     co-defendant Park City Municipal Corporation as as Law Enforcement Officers and were in uniform and
                     acting in their official capacity at the time.



III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages ifneeded.

         A.          Where did the events giving rise to your claim(s) occur?

                     Spaulding Court, Park City Utah 84060




         B.          What date and approximate time did the events giving rise to your claim(s) occur?

                     September 29, 2019 approximately 3pm to 11 pm




         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)


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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

          Plaintiff Michael Franchek received minor bruising and was taken to lntermountain Hospital Park City and
          evaluated. Diagnosis was increased heart rate and situational stress from incident. Plaintiff suffers from PTSD as
          a result of this incident.

          Plaintiff JF received minor superficial wounds and was not treated. Plaintiff suffers from PTSD as a result of this
          incident.The minor JF is terrified at the sigh of Police Officers and fears for his safety.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.

          Relief Sought:

          Granting Plaintiff(s) a declaration that the acts and omissions described herein violate his rights
          under the Constitution and laws of the United States, and
          1) Plaintiff, Michael Franchek seeks compensatory damages in the amount of $500,000
          2) Plaintiff, JF seeks compensatory damages in the amount of $200,000
          3) Both Plaintiff(s) seek punitive damages from each defendant in the amount of $50,000
          4) Plaintiff, Michael Franchek seeks monetary damages of $1200 for medical treatment as billed by
          lntermountain Healthcare
          5) Plaintiff, Michael Franchek seeks monetary damages of $200 for damages to real property by Defendant(s)
          6) Plaintiffs also seek a jury trial on all issues triable by jury
          7) Plaintiffs also seek recovery of their costs in this suit
          8) Any additional relief this court deems just, proper, and equitable.
          9) Unsealing of Park City Municipal Court Records of Brady-Giglio Records of Defendant Rodrigues




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessa1y delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements ofRule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal ofmy case.

                      Date of signing:                       08/02/2021


                     Signature of Plaintiff                ~~r~
                     Printed Name of Plaintiff                Michael J. Franchek (in Pro Se)


         B.          For Attorneys

                      Date of signing:


                      Signature of Attorney
                     Printed Name of Attorney
                      Bar Number
                     Name of Law Firm
                      Address


                                                                                City            State      Zip Code

                      Telephone Number
                      E-mail Address




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